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                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                 COLUMBUS DIVISION

 In Re:                                           Case No. 2:19-bk-54806

 Joseph Michael Johnson
                                                  Chapter 7
 Kelly Lil Johnson

 Debtors.                                         Judge C. Kathryn Preston

                                   NOTICE OF APPEARANCE

          Now comes Molly Slutsky Simons, an attorney admitted to practice in the U.S.

Bankruptcy Court, Southern District of Ohio, and enters an appearance on behalf of Home Point

Financial Corporation (“Creditor”), in the above captioned proceedings.

                                                  Respectfully Submitted,

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (0083702)
                                                  Sottile & Barile, Attorneys at Law
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
                                                  Attorney for Creditor

                                 CERTIFICATE OF SERVICE

I certify that a copy of the foregoing Notice of Appearance was served electronically on August
2, 2019 through the Court’s ECF System on all ECF participants registered in this case at the e-
mail address registered with the Court

And by ordinary U.S. Mail on August 2, 2019 addressed to:

          Joseph Michael Johnson, Debtor
          2008 Preakness Place
          Marysville, OH 43040
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      Kelly Lil Johnson, Debtor
      2008 Preakness Place
      Maryville, OH 43040

                                              /s/ Molly Slutsky Simons
                                              Molly Slutsky Simons (0083702)
                                              Attorney for Creditor
